 Case 1:18-cv-00576-JTN-ESC ECF No. 34 filed 04/15/19 PageID.239 Page 1 of 1

                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 KEITH MUMPHERY,

         Plaintiff,
                                                                        Case No. 1:18-cv-576
 v.
                                                                        HON. JANET T. NEFF
 MICHIGAN STATE UNIVERSITY, et al.,

         Defendants.
 ____________________________/

                                               ORDER

       This matter is before the Court on the parties’ Joint Notice Regarding Mediation (ECF No.

33). The parties request an extension of time, until May 3, 2019, to continue settlement discussions

before a briefing schedule on the anticipated motion to dismiss is issued. The Court, having

reviewed the instant request and having previously granted an extension, finds that an extension is

warranted but warns that further requests to extend the deadline will require trial counsel to appear

in person for a status conference. Accordingly:

       IT IS HEREBY ORDERED that the parties shall continue their settlement discussions

and shall, not later than May 3, 2019, file a joint notice indicating that the parties:

       (1)      have reached a resolution of this matter and dismissal papers are forthcoming,
                including a proposed deadline to file the dismissal papers;

       (2)      are continuing to negotiate a resolution and request more time to do so, including a
                detailed explanation of the efforts made thus far, what remains to be done to
                complete the process, and the additional time necessary; and with the understanding
                that trial counsel will need to appear for a status conference; or

       (3)      were unable to reach a resolution of this case, additional time to do so would likely
                not be productive without further proceedings in this matter, and a briefing schedule
                on the anticipated motion to dismiss is necessary, including a proposed schedule.



Dated: April 15, 2019                                           /s/ Janet T. Neff
                                                               JANET T. NEFF
                                                               United States District Judge
